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                                                                                              March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                     CONSENT TO PROCEED BY VIDEO OR
                                                                                     TELECONFERENCE
                             -v-
                                                                                       -CR-   (JMF)
                                   ,
                                       Defendant(s).
-----------------------------------------------------------------X

Defendant ______________________________________ hereby voluntarily consents to
participate in the following proceeding via video or teleconferencing:

___      Initial Appearance/Appointment of Counsel

___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

___      Status and/or Scheduling Conference

___      Misdemeanor Plea/Trial/Sentence



_______________________________                                      _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_____________________________                                        _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by reliable video or teleconferencing technology.


___________________                                                  _________________________________
Date                                                                          U.S. District Judge
